                                 UNITED STATES DISTRICT COURT

                                EASTERN DISTRICT OF TENNESSEE

                                            AT GREENVILLE

   SNMP RESEARCH, INC. and SNMP                           Case No. 3:20-cv-00451
   RESEARCH INTERNATIONAL, INC.,

             Plaintiffs,
   v.

   BROADCOM INC.; BROCADE
   COMMUNICATIONS SYSTEMS LLC; and
   EXTREME NETWORKS, INC.

             Defendants.




    MEMORANDUM OF FACTS AND LAW IN SUPPORT OF DEFENDANTS’ MOTION
      TO DISMISS PLAINTIFFS’ COMPLAINT AND/OR TO TRANSFER VENUE




             Plaintiffs filed this copyright infringement action against nonresident Defendants

   Broadcom Inc. (“Broadcom”), Brocade Communications Systems LLC (“Brocade”), and

   Extreme Networks, Inc. All Defendants reside in San Jose, California. (Compl. ¶¶ 20-22.) This

   case should be dismissed or transferred to the Northern District of California because this Court

   lacks personal jurisdiction over Broadcom, and thus venue is not proper as to all Defendants.

   Moreover, Plaintiffs’ copyright infringement claims should be dismissed because Plaintiffs’

   copyright registrations contain material inaccuracies and are therefore invalid. Finally,

   Plaintiffs’ breach of contract claim must be dismissed because it is preempted by the Copyright

   Act.

             On a motion to dismiss for lack of personal jurisdiction, “[j]urisdiction of a case must be




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   established from the face of the complaint and the plaintiff bears the burden of establishing

   personal jurisdiction over each defendant[.]” Bowlin v. DTR Tennessee, Inc., 2014 WL

   12781799, at *2 (E.D. Tenn. June 9, 2014) (Greer, J.) As set forth below, Plaintiffs’ allegations

   are impermissibly vague and do not establish Broadcom engaged in any forum-related activities,

   let alone any forum-related activities that gave rise to and have a substantial connection with

   their claims. Thus, this Court lacks personal jurisdiction over Broadcom.

             Because Broadcom is not subject to personal jurisdiction in Tennessee, venue is improper

   as to all Defendants. When a plaintiff asserts a cause of action for copyright infringement, venue

   is determined under 28 U.S.C. § 1400(a). Under 28 U.S.C. § 1400(a), copyright actions may be

   instituted in the district in which “the defendant or his agent resides or may be found.” It is

   “widely accepted that, for the purposes of this venue provision, a defendant is ‘found’ wherever

   personal jurisdiction can be properly asserted against it.” Bridgeport Music, Inc. v. Agarita

   Music, Inc., 182 F. Supp. 2d 653, 659 (M.D. Tenn. 2002). Thus, because this Court lacks

   personal jurisdiction over Broadcom, venue is also improper under 28 U.S.C. § 1400(a).

             The Sixth Circuit has explained that “under § 1406, if a case is brought in an improper

   venue and an interested party timely objects, a district court has only two options: (1) dismiss the

   case, or (2) transfer the case to a jurisdiction of proper venue, if it be in the interest of justice.”

   Thompson v. Greenwood, 507 F.3d 416, 420 (6th Cir. 2007). “In cases with multiple defendants,

   venue must be proper with respect to all defendants.” Overland, Inc. v. Taylor, 79 F. Supp. 2d

   809, 811 (E.D. Mich. 2000). Thus, the Court should either dismiss the case or, in the alternative,

   transfer it in its entirety to the United States District Court for the Northern District of California,

   where all Defendants are subject to personal jurisdiction and venue is proper. See 28 U.S.C.

   §§ 1406(a), 1404(a), 1631.



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             If the Court does not dismiss or transfer this case on venue and/or personal jurisdiction

   grounds, Plaintiffs’ claims for copyright infringement and contributory copyright infringement

   against Defendants still must be dismissed because it is evident from the face of Plaintiffs’

   Complaint that its copyright registrations are invalid pursuant to 17 U.S.C. § 411. Plaintiffs’

   Complaint shows that the copyrights at issue in this case were registered as unpublished in 2011.

   (Compl. ¶ 33, Table 1, and Ex. B (showing registration numbers with the prefix “TXu,” which

   applies to unpublished works)). But Plaintiffs allege they entered into the original license

   agreement with Brocade ten years earlier, in 2001, and they attach the license agreement and

   subsequent amendments to the Complaint revealing the same. (Compl. ¶ 34, Ex. A.)

             It is well established that software is “published” when it is distributed pursuant to a

   license agreement. See, e.g., U.S. Copyright Office, Compendium of U.S. Copyright Office

   Practices (3d ed. 2017) § 612.2 (“Software is distributed when copies are distributed by purchase

   or license[.]”); Bruhn NewTech, Inc. v. United States, 144 Fed. Cl. 755, 811 (2019); see also

   McLaren v. Chico’s FAS, Inc., 2010 WL 4615772, at *2 (S.D.N.Y. Nov. 9, 2010). Thus,

   Plaintiffs knowingly included inaccurate information on their applications for copyright

   registration, and the inaccuracy of the information, if known, would have caused the Register of

   Copyrights to refuse registration. 17 U.S.C. § 411(b); Gold Value Int’l Textile, Inc. v. Sanctuary

   Clothing, LLC, 925 F.3d 1140, 1142-48 (9th Cir. 2019), cert. denied, 140 S. Ct. 1294 (2020). In

   such situations, claims for copyright infringement must be dismissed. Id.; see also McLaren,

   2010 WL 4615772, at *4 (granting motion to dismiss with prejudice because copyright

   registration was shown to be invalid).

             Finally, the Court should dismiss Plaintiffs’ breach of contract claim against Brocade as

   preempted by the Copyright Act. A state law claim is preempted by the Copyright Act if: (1)



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   the work involved is within the scope of the subject matter of copyright; and (2) the rights

   granted under state law are equivalent to any exclusive rights within the scope of federal

   copyright. See Wrench LLC v. Taco Bell Corp., 256 F.3d 446, 453 (6th Cir. 2001); 17 U.S.C.

   § 301. The breach of contract claim here is based on the alleged unauthorized distribution of,

   preparation of derivative works based upon, and reproduction of Plaintiffs’ software and source

   code. (See Compl. ¶ 14.) As such, the claim is preempted by the Copyright Act.

             I.     BACKGROUND

             On March 10, 2001, Brocade Communications Systems LLC (“Brocade”) and SNMP

   Research International, Inc. (“SNMPRI”) entered into a license agreement for SNMPRI’s

   software, which was amended five times over the subsequent 14 years (hereafter, the “License

   Agreement”). (Compl. ¶ 34.) As of June 2015, Brocade had fully paid for the license and no

   further amounts were due and payable. (Id., Ex. A at 40-41 (Amendment 5 ¶ 9)




                                                Plaintiffs allege that their software was incorporated

   into two of Brocade’s product lines: the Brocade Fibre Channel SAN Switching products and the

   Brocade IP Networking business (a/k/a Data Center) products. (Id. ¶ 41.) In their copyright

   registrations, Plaintiffs indicated that their copyright claims included “text, compilation, editing,

   computer program, [and] artwork.” (Compl. Ex. B.)

             In September 2017, Plaintiffs allege that Brocade and Extreme notified Plaintiffs that

   Brocade intended to divest its IP Networking (a/k/a Data Center) business to Extreme Networks

   Inc. (“Extreme”) (Id. ¶¶ 27, 43-44.) Plaintiffs further allege that Brocade and Extreme requested

   SNMPRI’s consent to an assignment of Brocade’s license to Extreme for the products that would



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   be transferred pursuant to the transfer of ownership. (Id. ¶¶ 27, 44.) Plaintiff alleges that it

   declined to consent to the assignment. (Id. ¶ 45.) Plaintiffs allege that Brocade distributed their

   source code and software to Extreme through the transfer of ownership, infringing their copyrights

   and breaching the License Agreement. (Compl. ¶¶ 43, 46, 55.) After Brocade’s divestiture to

   Extreme, Broadcom Inc. (“Broadcom”) acquired Brocade. (Id. ¶ 42; Declaration of Mark Brazeal

   (“Brazeal Decl.”) ¶ 4.)

             Plaintiffs allege they waited nearly two years after receiving the assignment notice from

   Extreme and Brocade to send notices of breach and termination to Brocade. (Id. ¶¶ 51, 58.) Then,

   more than a year later, Plaintiffs filed this lawsuit without warning. Broadcom, Brocade, and

   Extreme are all incorporated in Delaware with their principal places of business in San Jose,

   California. (Id. ¶¶ 20-22.)

             II.    ARGUMENT

             For the reasons set forth below, this case must be either dismissed or transferred to the

   Northern District of California where all Defendants reside. First, this Court lacks personal

   jurisdiction over Broadcom. Second, because copyright infringement actions can only be

   brought in a district in which the court has personal jurisdiction over the defendant, venue in

   Tennessee is improper under 28 U.S.C. § 1400(a). Since venue must be proper as to all

   Defendants, the Court should either (1) dismiss the case in its entirety so that Plaintiffs may

   refile against all defendants in the appropriate jurisdiction; or (2) transfer the case pursuant to 28

   U.S.C. § 1406(a) to the Northern District of California, where personal jurisdiction exists and

   venue is proper as to all defendants. If the Court does not dismiss or transfer this case, Plaintiffs’

   claims for copyright infringement and contributory copyright infringement must be dismissed

   because their copyright registrations are invalid. Further, Plaintiffs’ claim for breach of contract



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   must be dismissed because it is preempted by the Copyright Act.

                A. Plaintiffs Cannot Establish Personal Jurisdiction Over Broadcom.

             This Court lacks personal jurisdiction over Broadcom. “Jurisdiction of a case must be

   established from the face of the complaint and the plaintiff bears the burden of establishing

   personal jurisdiction over each defendant through the entirety of the action.” Bowlin v. DTR

   Tennessee, Inc., 2014 WL 12781799, at *2 (E.D. Tenn. June 9, 2014) (Greer, J.). If the

   complaint makes no allegations supporting personal jurisdiction, plaintiffs fail to carry their

   burden. Malone v. Stanley Black & Decker, Inc., 965 F.3d 499, 502 (6th Cir. 2020) (citation

   omitted). For a complaint to make out a prima facie showing of jurisdiction, plaintiff must

   “establish, with reasonable particularity, sufficient contacts between the defendant and the forum

   state to satisfy the relevant long-arm statute and the Due Process Clause.” Id. at 504.

             Tennessee’s long-arm statute and federal due process requirements are coterminous and

   personal jurisdiction is proper “as long as the exercise of personal jurisdiction comports with due

   process.” Roundtree-Chism v. Dunn, 2017 WL 6016385, at *1 (6th Cir. Nov. 29, 2017). Under

   federal law, personal jurisdiction can be either general or specific. See id. Plaintiffs cannot

   establish either as to Broadcom.

                    1. Plaintiffs Cannot Establish General Jurisdiction over Broadcom.

             Plaintiffs have failed to make a prima facie showing of general jurisdiction over

   Broadcom. Absent “exceptional” circumstances not present here, courts have general

   jurisdiction over corporations only in: (1) the corporation’s state of incorporation; or (2) the state

   where the corporation has its principal place of business. Daimler AG v. Bauman, 571 U.S. 117,

   136-39 & n.19 (2014). A corporation is not subject to general jurisdiction in a state simply

   because it “engages in a substantial, continuous, and systematic course of business” there. Id. at



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   137-38. Rather, the corporation’s contacts must be “so continuous and systematic [as] to render

   the foreign corporation essentially at home in the forum state . . . .” Bowlin, 2014 WL 12781799,

   at *3 (emphasis added).

             Plaintiffs allege here that Broadcom is “a Delaware corporation with a principal place of

   business in San Jose, California.”       Compl. ¶ 20.    Plaintiffs do not allege that Broadcom’s

   affiliations with Tennessee are so continuous and systematic that Broadcom could fairly be

   considered “at home” in Tennessee. See id. ¶ 26. Nor could they. See Brazeal Decl. ¶ 2. As such,

   Plaintiffs have not and cannot meet their burden to make a prima facie showing that the Court has

   general jurisdiction over Broadcom.

                    2. Plaintiffs Cannot Establish Specific Jurisdiction Over Broadcom.

             Plaintiffs also have not made a prima facie showing of specific jurisdiction over

   Broadcom. “Specific jurisdiction is satisfied when there is a continuous and systematic activity

   from which a suit arises out of or is related to a defendants contact with the forum.” Bowlin,

   2014 WL 12781799, at *3 (citations omitted). The plaintiff’s “cause of action must be

   proximately caused by the defendant’s contacts with the forum state.” Beydoun v. Wataniya

   Rests. Holding, Q.S.C., 768 F.3d 499, 507-08 (6th Cir. 2014). Thus, “the cause of action must

   . . . have a substantial connection with the defendant’s in-state activities.” Id. at 507 (internal

   citation and quotation marks omitted).

             “Three criteria are required to show such jurisdiction arising from contact with a forum

   and failure to meet any one criterion is a failure to establish personal jurisdiction.” Bowlin, 2014

   WL 12781799, at *3. First, the person or entity must have purposely availed themselves or

   caused consequences within the forum. Id. Second, the matter before the court must have arisen

   from such activities in the forum. Id. Third, the consequences caused by the defendant's



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   activities in the forum must have “a substantial enough connection” with the state to make

   exercise over the defendant reasonable. Id. In showing each of these criteria, “if allegations of

   jurisdictional facts are challenged, the plaintiff may present competent proof in support of their

   allegations.” Id. A plaintiff must present factual allegations that suggest “with reasonable

   particularity” the “possible existence of the requisite contacts between the defendant and the

   forum state.” Id. (citations omitted).

             Here, Plaintiffs’ allegations fall far short of establishing specific jurisdiction over

   Broadcom. Critically, Plaintiffs do not allege that its claims against Broadcom arise out of or

   were caused by Broadcom’s activities in Tennessee. Instead, Plaintiffs merely point to the fact

   that Broadcom has executed one agreement1 with SNMPRI, but they do not allege the agreement

   has anything to do with this case (and it does not). See Compl. at ¶ 26; Brazeal Decl. ¶¶ 6-7 &

   Ex. A. Because the agreement is unrelated to the dispute at issue, it is insufficient to confer

   specific jurisdiction over Broadcom. See Daimler, 571 U.S. at 127 (explaining that specific

   jurisdiction only exists where the suit arises out of or relates to the defendant’s contacts with the

   forum); CompuServe, Inc. v. Patterson, 89 F.3d 1257, 1265 (6th Cir. 1996) (“merely entering

   into a contract with [plaintiff] would not, without more, establish that [defendant] had minimum

   contacts” with forum state); RAR, Inc. v. Turner Diesel, Ltd., 107 F.3d 1272, 1278 (7th Cir.

   1997) (“[I]t is only the dealings between the parties in regard to the disputed contract that are

   relevant to minimum contacts analysis.”) (internal quotation marks omitted); Evergreen Media

   Holdings, LLC v. Safran Co., 68 F. Supp. 3d 664, 685 (S.D. Tex. 2014) (holding that the

   plaintiffs fail to “show how they can establish personal jurisdiction over Defendants based on



   1 Plaintiffs do not allege that Broadcom is a party to the License Agreement between Brocade and
   Plaintiffs that is the subject of Plaintiffs’ breach of contract cause of action against Brocade.
   (Compl. ¶ 26, Ex. A.)

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   unrelated contracts”).

             Moreover, Exhibit A to the Declaration of Mark Brazeal does not contain a forum

   selection clause, as Plaintiffs suggest. And even if Plaintiffs contend that a forum selection

   clause in the underlying license agreement between CA, Inc. and SNMP Research International,

   Inc. is binding on Broadcom, a forum selection clause in an unrelated agreement would not

   confer specific jurisdiction over Broadcom in this case. See Zep, Inc. v. First Aid Corp., 2010

   WL 1195094, at *6 (N.D. Ill. Mar. 19, 2010) (citing the proposition that a “forum selection

   clause in [an] unrelated contract does not confer specific jurisdiction over lawsuit arising from

   another contract”); Terra Int’l, Inc. v. Mississippi Chem. Corp., 922 F. Supp. 1334, 1377 (N.D.

   Iowa 1996), aff’d, 119 F.3d 688 (8th Cir. 1997) (“Plainly, application of a forum selection clause

   in a contract that is wholly unrelated to the events giving rise to the lawsuit would be both unjust

   and unreasonable.”).

             Next, Plaintiffs vaguely allege that Broadcom has engaged in unidentified “extensive

   negotiations” with Plaintiffs in which, among other things, “Broadcom representatives spoke on

   behalf of Brocade and represented the ability to obtain a license agreement on behalf of

   Brocade.” Compl. ¶ 26. Plaintiffs do not identify the date of these negotiations, who

   participated in them, where they took place, or the subject matter of the negotiations. Id. Thus,

   it is unclear to what “extensive negotiations” Plaintiffs are referring. Even so, Plaintiffs do not

   allege such negotiations had any connection to Tennessee or that their claims against Broadcom

   in this dispute arise out of or were proximately caused by such negotiations. Id. Such vague

   allegations do not establish personal jurisdiction over Broadcom.

             Moreover, if Plaintiffs are referring to efforts made to resolve the current dispute before

   Plaintiffs unexpectedly filed this lawsuit, Broadcom does not know which Broadcom Inc.



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 employees Plaintiffs are referring to and is not aware of any such discussions taking place in

 Tennessee. Brazeal Decl. ¶ 8. Furthermore, even if such discussions had taken place in

 Tennessee, and even if Broadcom Inc. employees had participated in them, such discussions still

 would not confer specific jurisdiction over Broadcom. See Nationwide Mut. Ins. Co. v. Tryg Int’l

 Ins. Co., 91 F.3d 790, 796 (6th Cir. 1996) (“[W]e do not believe that Tryg International’s action

 in sending a representative to Ohio to negotiate a settlement renders the exercise of personal

 jurisdiction appropriate in this case.”); Am. Elec. Power Serv. Corp. v. EC & C Techs., Inc., 2002

 WL 31409846, at *4 (S.D. Ohio July 26, 2002) (“[S]ettlement negotiations are not a basis for

 personal jurisdiction.”).

        Plaintiffs also assert “[u]pon information and belief,” that “Broadcom is also actively

 marketing, selling, offering to sell, licensing, and/or offering to license hardware, software,

 and/or services directly or indirectly through its distribution channels to business consumers in

 this District, including, without limitation, products containing the software at issue in this case.”

 Compl. ¶ 26 (emphases added). As an initial matter, Plaintiffs’ liberal use of “and/or” in this

 context renders this allegation impermissibly vague. Patterson v. Novartis Pharm. Corp., 451 F.

 App’x 495, 497-98 (6th Cir. 2011) (holding plaintiff “pled herself out of relief” by using

 “and/or” because the court could not infer anything more than a possibility that a particular

 activity occurred).

        Moreover, Broadcom Inc. is a parent holding company and not a sales operating entity,

 and thus does not sell or engage in any product development containing the software at issue in

 this case anywhere in the United States. Brazeal Decl. ¶ 5. Thus, Broadcom does not deal in any

 products related to this litigation in Tennessee. Id. But even if this allegation were

 comprehensible and true (it is not), Plaintiffs do not allege that any such purported marketing or



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 sale of products containing Plaintiffs’ software was infringing or form the basis of their claims

 against Broadcom. Plaintiffs’ copyright claims are based on Brocade’s purported sales, not

 Broadcom’s. See Compl. ¶¶ 75-84, 94-104; see also Brazeal Decl. ¶ 4 (explaining that

 Broadcom acquired Brocade in November 2017 after Brocade’s alleged divestiture to Extreme).

 And even if Broadcom did distribute, market, or sell products unrelated to this litigation in

 Tennessee, such contacts would not establish specific jurisdiction over Broadcom. See Bristol-

 Myers Squibb Co. v. Superior Court, 137 S. Ct. 1773, 1781 (explaining that “when there is no

 . . . connection” between the underlying controversy and the defendant’s activity in the forum

 state, “specific jurisdiction is lacking regardless of the extent of a defendant’s unconnected

 activities in the State”); Goodyear Dunlop Tires Operations, S.A. v. Brown, 564 U.S. 915, 931

 n.6 (2011) (“[E]ven regularly occurring sales of a product in a State do not justify the exercise of

 jurisdiction over a claim unrelated to those sales.”); CompuServe, Inc., 89 F.3d at 1265

 (defendants’ “injection of his software product into the stream of commerce, without more,

 would be at best a dubious ground for jurisdiction.”)

        Finally, Plaintiffs suggest it was reasonably foreseeable to Broadcom that it would

 become involved in the present dispute in Tennessee because of “its close relationship to and

 dealings with Brocade,” and because “Brocade is bound by the exclusive jurisdiction and venue

 clause set forth in the License Agreement that is central to this dispute.” Compl. at ¶ 26. In

 essence, Plaintiffs attempt to circumvent the requirement that personal jurisdiction be established

 as to “ ‘each defendant independently,’ ” Beydoun, 768 F.3d at 504, by piggybacking off of this

 Court’s jurisdiction over Brocade. This Plaintiffs cannot do. See Rush v. Savchuk, 444 U.S. 320,

 332 (1980) (holding that the “assertion of jurisdiction over [one defendant] based solely on the

 activities of [another defendant] . . . is plainly unconstitutional” as due process requirements



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 “must be met as to each defendant over whom a . . . court exercises jurisdiction”); Brown v.

 Twentieth Century Fox Home Entm’t, 2015 WL 5081125, at *6 (E.D. Ky. Aug. 27, 2015)

 (“Plaintiff must establish the Court’s jurisdiction over each individual defendant and cannot

 impute a co-defendant’s contacts with the forum State to create jurisdiction over the other

 defendants.”).

         Moreover, mere knowledge that an agreement between others contains a forum selection

 clause does not mean that a non-party to that agreement could reasonably expect to be haled into

 a Tennessee court. See Intera Corp. v. Henderson, 428 F.3d 605, 617-19 (6th Cir. 2005)

 (holding corporate officers’ knowledge that the license agreement between the corporate entities

 contained a choice-of-law and forum selection provision did not show that they deliberately

 affiliated themselves with Tennessee or could reasonably expect to become embroiled in possible

 litigation in Tennessee). The “purposeful availment” requirement is only satisfied “when the

 defendant’s contacts with the forum state ‘proximately result from actions by the defendant

 himself that create a “substantial connection” with the forum State,’ and when the defendant’s

 conduct and connection with the forum are such that he ‘should reasonably anticipate being

 haled into court there.’ ” CompuServe, Inc., 89 F.3d at 1263 (quoting Burger King Corp. v.

 Rudzewicz, 471 U.S. 462, 474 (1985)) (emphases added).

         In sum, Plaintiffs have failed to allege jurisdictional facts in the Complaint sufficient to

 establish personal jurisdiction over Broadcom. Accordingly, the motion to dismiss pursuant to

 Rule 12(b)(2) should be granted. Bowlin, 2014 WL 12781799, at *3. Alternatively, if the Court

 finds that it would be in the interest of justice to do so, this action should be transferred to the

 Northern District of California where all Defendants reside pursuant to 28 U.S.C. § 1631.

             B. This District Is Not a Proper Venue for Plaintiffs’ Claims



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        Because this Court does not have personal jurisdiction over Broadcom, the Eastern

 District of Tennessee is an improper venue for all Defendants. This Court should therefore

 dismiss this case or, in the alternative, transfer it to the Northern District of California where all

 Defendants reside. See 28 U.S.C. § 1406; 28 U.S.C. § 1631.

        Plaintiffs allege two causes of action for copyright infringement against Broadcom. The

 copyright venue statute provides that “[c]ivil actions, suits, or proceedings arising under any Act

 of Congress relating to copyrights . . . may be instituted in the district in which the defendant or

 his agent resides or may be found.” 28 U.S.C. § 1400(a). Under this statute, it is well

 established that “the propriety of venue turns on whether the defendant is subject to personal

 jurisdiction.” AF Holdings, LLC v. Does 1-1058, 752 F.3d 990, 996 (D.C. Cir. 2014); Eight Mile

 Style, LLC v. Spotify USA Inc., 2020 WL 1640425, at *8 (M.D. Tenn. Apr. 2, 2020) (same).

        Thus, because this Court lacks personal jurisdiction over Broadcom, venue is improper in

 the Eastern District of Tennessee under 28 U.S.C. § 1400(a). The Sixth Circuit has explained

 that “under § 1406, if a case is brought in an improper venue and an interested party timely

 objects, a district court has only two options: (1) dismiss the case, or (2) transfer the case to a

 jurisdiction of proper venue, if it be in the interest of justice.” Thompson v. Greenwood, 507

 F.3d 416, 420 (6th Cir. 2007); 28 U.S.C. § 1406; see also 28 U.S.C. § 1631. In cases with

 multiple defendants, “venue must be proper with respect to all defendants.” Overland, Inc. v.

 Taylor, 79 F. Supp. 2d 809, 811 (E.D. Mich. 2000); see also Lea v. Warren Cnty., 2017 WL

 4216584, at *2 (6th Cir. May 4, 2017) (affirming district court’s dismissal of case where venue

 was proper for some, but not all, defendants).

        Here, because venue is improper under 28 U.S.C. 1400(a), this Court should dismiss this

 case and allow Plaintiffs to file it in a proper forum. Lea, 2017 WL 4216584 at *2; see also



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 Stanifer v. Brannan, 564 F.3d 455, 460 (6th Cir. 2009) (noting that district courts “often dismiss

 a case, rather than transfer it under Section 1406(a), if the plaintiff’s attorney could have

 reasonably foreseen that the forum in which the suit was filed was improper and [the court

 decides] that similar conduct should be discouraged”).

         Alternatively, if the Court decides that it is in the interest of justice to transfer the case,

 rather than dismiss it, the case should be transferred to the Northern District of California where

 all Defendants reside and are subject to jurisdiction and venue is proper. While severance under

 Federal Rule of Civil Procedure 21 is occasionally appropriate in actions in which venue is

 improper as to some but not all defendants, it would not be appropriate where, as here, claims

 against Defendants arise from the same transaction or occurrence and present common questions

 of fact and law. Having two concurrent actions for a single dispute could result in conflicting

 and inconsistent rulings—a highly undesirable outcome that is not in the interest of justice.

 Thus, severing the claims would be inefficient for all parties and the court system. See Kramer

 v. Textron Aviation, Inc., 2020 WL 4760191 at *5 (E.D. Tenn. Jan. 28, 2020); see also Cottman

 Transmission Sys., Inc. v. Martino, 36 F.3d 291, 296 (3d Cir. 1994) (“When the conduct of a co-

 defendant as to whom venue is proper is central to the issues raised by the plaintiff against those

 subject to transfer, the grant of a severance would not ordinarily be consistent with the sound

 exercise of discretion.”). The Court should therefore either dismiss the action or transfer the case

 in its entirety to the Northern District of California.

         In the event this Court determines that it has personal jurisdiction over Broadcom and

 venue is proper, Broadcom and Brocade nevertheless request that the Court transfer this case to

 the Northern District of California pursuant to 28 U.S.C. § 1404 for the convenience of the

 parties and witnesses and in the interests of justice. Broadcom and Brocade join in arguments



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 made by Extreme in support of its motion to transfer pursuant to 28 U.S.C. § 1404 and

 incorporate them by reference here. Broadcom and Brocade both reside in the Northern District

 of California as do relevant witnesses who are employees and former employees of Brocade. See

 Declaration of John Rondoni ¶¶ 3-5.

            C. Plaintiffs’ Copyright Registrations Are Invalid.

        Plaintiffs’ claims for copyright infringement must be dismissed because Plaintiffs’

 copyright registrations for its software are invalid under 17 U.S.C. § 411(b). “A copyright-

 infringement claim must establish: (1) ownership of a valid copyright, and (2) the fact that the

 defendant copied protectable elements of the work.” RJ Control Consultants, Inc. v. Multiject,

 LLC, 2020 WL 6878106, at *4 (6th Cir. Nov. 23, 2020) (internal quotation marks omitted).

 Because it is clear from the caselaw and the facts alleged in the Complaint that Plaintiffs’

 copyright registrations are invalid, the Court should dismiss Plaintiffs’ claims for copyright

 infringement. Alternatively, at a minimum, the Court should refer the issue under 17 U.S.C.

 § 411(b)(2) to the Register of Copyrights to determine whether it would have refused Plaintiffs’

 copyright registration had it known about the inaccuracies in Plaintiffs’ application.

                1. Plaintiffs’ Software Products Are Registered as Unpublished Works.

        Plaintiffs registered their software products as unpublished works. Each of the copyright

 registration numbers alleged by Plaintiffs begins with the prefix “TXu.” See Compl. at ¶ 33,

 Table 1, Ex. B. This indicates that those copyrights were registered as unpublished works. See

 Family Dollar Stores, Inc. v. United Fabrics Int’1., Inc., 896 F.Supp.2d 223, 225 (S.D.N.Y.

 2012) (“The ‘u’ represents that the works are unpublished.”); U.S. Copyright Office,

 Compendium of U.S. Copyright Office Practices §§ 1802.8(A)(2), 2306.4 (3d ed. 2017); U.S.

 Copyright Office, https://www.copyright.gov/eco/help-supplementary.html (explaining that



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 published registration numbers begin “with a prefix of TX, VA, PA, or SR” whereas unpublished

 registration numbers begin “with a prefix of TXu, VAu, PAu, or SRu”); see also 37 C.F.R.

 § 202.3. In the event Plaintiffs dispute that their copyright registrations are for unpublished

 works, the Court may take judicial notice of the meaning of the prefixes used with copyright

 registration numbers. See Application of Yardley, 493 F.2d 1389, 1393 (C.C.P.A. 1974).

                2. Plaintiffs’ Software Products Were Already Published When Plaintiffs
                   Registered Them as Unpublished Works.

        Plaintiffs admit in their Complaint that they licensed their software to Brocade in 2001 –

 ten years before they registered the software products as unpublished works with the Copyright

 Office in 2011. See Compl. at ¶¶ 33-34; id. Ex. A. The Copyright Act defines “publication” to

 mean “the distribution of copies . . . of a work to the public by sale or other transfer of

 ownership, or by rental, lease, or lending.” 17 U.S.C. § 101. In the software context, issuing a

 “license” constitutes “distribution” and thus publication. Section 612.2 of the U.S. Copyright

 Office’s Compendium of U.S. Copyright Office Practices entitled “What Constitutes

 Publication?” explicitly lists licensing software as an example of publishing a work. See U.S.

 Copyright Office, Compendium of U.S. Copyright Office Practices § 612.2 (3d ed. 2017)

 (“Software is distributed when copies are distributed by purchase or license, whether in CD-

 ROM format or online . . . .”). “Courts routinely cite the Compendium as a prominent authority

 on copyright law, giving it weight beyond that of a typical secondary source.” Urban Textile,

 Inc. v. Rue 21, Inc., 2017 WL 1201751, at *2 n.1 (C.D. Cal. Mar. 31, 2017), aff’d, 764 F. App’x

 603 (9th Cir. 2019) (citations omitted).

        In Daimler-Chrysler Servs. N. Am., LLC v. Summit Nat., Inc., 289 F. App’x 916 (6th Cir.

 2008), the Sixth Circuit considered whether licensing software constituted publication under the

 Copyright Act. The case turned on whether the licensed software had been “published” because,


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 under the Copyright Act in effect at that time, a copyright notice was required for publicly

 distributed works to be protected and the plaintiff’s software lacked such notice. Id. at 922-23.

 Referring to the Copyright Act’s definition of “publication,” the Sixth Circuit held that because

 the software had been advertised and licensed to customers, it had been published, and therefore

 distributed publicly, under the Copyright Act. Id. Other courts to confront this issue have

 arrived at the same conclusion. See Bruhn, 144 Fed. Cl. at 811 (recognizing that computer

 software products are published when distributed by license); McLaren v. Chico’s FAS, Inc.,

 2010 WL 4615772, at *2 (S.D.N.Y. Nov. 9, 2010) (concluding that the licensing of an

 illustration “ ‘published’ the drawing within the meaning of the Copyright Act”).

        It is undisputed from the face of the Complaint and the attached license agreement that

 Plaintiffs licensed their software to Brocade in 2001. Thus, Plaintiffs published their work prior

 to applying for an unpublished copyright. See Penguin Books U.S.A., Inc. v. New Christian

 Church of Full Endeavor, Ltd., 288 F. Supp. 2d 544, 556 (S.D.N.Y. 2003) (“A distribution of a

 work to [even] one person constitutes a publication.”).

                3. Plaintiffs Knowingly Included Inaccurate Information in the Registrations
                   That Would Have Caused the Register of Copyrights to Refuse Registration.

        Under 17 U.S.C. § 411(b)(1), a certificate of registration does not satisfy the

 requirements of instituting a civil action for infringement when “(A) the inaccurate information

 was included on the application for copyright registration with knowledge that it was inaccurate;

 and (B) the inaccuracy of the information, if known, would have caused the Register of

 Copyrights to refuse registration.” 17 U.S.C. § 411(b)(1); see also Unicolors, Inc. v. H&M

 Hennes & Mauritz, L.P., 959 F.3d 1194, 1197 (9th Cir. 2020) (“[P]ossession of a registration

 certificate does not satisfy the Copyright Act’s registration requirement if the registrant secured

 the registration by knowingly including inaccurate information in the application for copyright


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 registration that, if known by the Register of Copyrights, would have caused it to deny

 registration.”). Plaintiffs’ copyright registrations are invalid under 17 U.S.C. § 411(b).

                        i. Plaintiffs included inaccurate information on their copyright
                           application with knowledge that it was inaccurate.

        Plaintiffs knowingly submitted their applications for copyright registration with

 inaccurate information. In Gold Value International Textile, Inc. v. Sanctuary Clothing, LLC,

 925 F.3d 1140 (9th Cir. 2019), cert. denied, 140 S. Ct. 1294 (2020), the plaintiff Fiesta alleged

 that the defendant infringed its copyright on unpublished fabric designs. Id. at 1142-43. As it

 turned out, Fiesta had sold fabric bearing one of the designs “to a limited group of existing and

 potential customers for the limited purpose of securing full production contracts for hundreds or

 thousands of yards of fabric.” Id. at 1142 (internal quotation marks omitted). The district court

 referred the matter to the Register of Copyrights pursuant to 17 U.S.C. § 411(b)(2), which

 confirmed that the Copyright Office would have denied the application had it known the design

 was previously published. Id. at 1143. The district court declared Fiesta’s copyright registration

 to be invalid “[b]ecause Fiesta knew that the fabric had previously been sold” and thus Fiesta

 “included inaccurate information in its copyright application with knowledge that it was

 inaccurate.” Id.

        On appeal, Fiesta argued that “it did not know that the sale of samples to its customers

 constituted publication as a matter of law under the Copyright Act, and therefore, it did not have

 the requisite knowledge or fraudulent intent.” Id. at 1146. The Ninth Circuit summarily rejected

 this argument, explaining that “the term ‘knowingly’ does not necessarily have any reference to a

 culpable state of mind or to knowledge of the law. As Justice Jackson correctly observed, ‘the

 knowledge requisite to knowing violation of a statute is factual knowledge as distinguished from

 knowledge of the law.’” Id. at 1147 (citing Bryan v. United States, 524 U.S. 184, 192 (1998));


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 see also id. at 1146 (“The district court characterized Fiesta’s position as one of ‘ignorance of the

 law,’ which is ‘no excuse’ . . . .”).

         The court further concluded that “the plain language of § 411(b) . . . does not require a

 showing of fraud, but only that the claimant included inaccurate information on the application

 ‘with knowledge that it was inaccurate.’ ” Id. at 1147. Because “Fiesta was admittedly aware of

 the facts regarding its fabric sales[,] its inclusion of designs that it knew had been sold, and

 therefore published, in an unpublished collection cannot be characterized as an inadvertent or

 good faith mistake.” Id. at 1148. Ultimately, the Ninth Circuit affirmed the invalidation of

 Fiesta’s copyright registration and dismissal of Fiesta’s copyright infringement claims. Id.; see

 also Unicolors, 959 F.3d at 1198 (reaffirming Gold Value’s holding that there is no “intent-to-

 defraud requirement” to invalidating a copyright registration).

         The Ninth Circuit’s decisions are consistent with those of other courts addressing this

 issue. See Bruhn NewTech, Inc., 144 Fed. Cl. at 815 (“An applicant for a copyright registrant

 will have knowledge of inaccurate information in a copyright application when the applicant is

 ‘aware’ of the facts underlying the inaccuracy.”); id. at 796 (“The language in 17 U.S.C.

 § 411(b) does not require a showing of willfulness or fraud. Therefore, the court need not resort

 to the legislative history to interpret 17 U.S.C. § 411(b) because the language in 17 U.S.C.

 § 411(b) is unambiguous.”); Nason Homes, LLC v. Singletary Constr., LLC, 2016 WL 6952257,

 at *6 (M.D. Tenn. Jan. 29, 2016) (holding fraud not necessary to invalidate registration).

         In the present matter, Plaintiffs knew they had licensed out their software prior to

 registering the copyright. The complaint alleges that SNMP International entered into a license

 agreement with Brocade in 2001 and several amendments thereafter. Compl. at ¶ 34. Copies of

 the license agreement and amendments thereto are appended to the complaint and signed by



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 SNMP International’s chief executive officer. Compl. Ex. A at 13. Thus, Plaintiffs included

 inaccurate information on their copyright application with knowledge that it was inaccurate by

 indicating that their software was unpublished at the time of registration in 2011.

                        ii. The Register of Copyrights would have refused registration.

        Had the Register of Copyrights known that Plaintiffs’ software products were published

 when Plaintiffs submitted their copyright application, she would have refused registration of

 Plaintiffs’ unpublished copyright. In Gold Value, the plaintiff Fiesta indicated on its copyright

 application for an unpublished collection of works that its designs were unpublished. 925 F.3d at

 1142. But one of the designs in that collection, 1461 Design, had previously been sampled. Id.

 at 1142-43. The district court “submitted an inquiry to the Copyright Office regarding whether

 the Register of Copyrights would have rejected Fiesta’s application if it had known of the

 inaccuracy.” Id. at 1143. The Register responded that “ ‘had the Office been aware that the

 1461 Design had been previously published, the Office would have refused registration of that

 work using the unpublished collections option because the work was registered as unpublished

 when in fact it had been published.’ ” Id. The district court then dismissed Fiesta’s claims with

 prejudice, and the Ninth Circuit affirmed that decision. Id. at 1143, 1148; see also Bruhn, 144

 Fed. Cl. at 818 (Register indicated it would have refused registrations if it had known

 registrations listed inaccurate nation of first publication and completion dates);

 SellPoolSuppliesOnline.com LLC v. Ugly Pools Arizona Inc., 2018 WL 4565900, at *14 (D.

 Ariz. Sept. 24, 2018) (Register indicated that it would have refused registration if it had known

 registration listed inaccurate publication date); Urban Textile, 2017 WL 1201751, at *2 (“The

 Court finds that Urban published the works prior to registering them as part of unpublished

 collections, therefore making the registrations invalid.”); Determined Prods., Inc. v. Koster, 1993



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 WL 120463, at *1 (N.D. Cal. Apr. 13, 1993) (“Wrongly identifying a number of published

 individual works as an unpublished collection is a fundamental registration error, which deprives

 this court of jurisdiction over the copyright claim.”).

        Here, consistent with the Register of Copyrights’ advice to the courts in Gold Value and

 the Copyright Office’s guidelines, the Copyright Office would have refused registration of

 Plaintiffs’ copyrights had it known that Plaintiffs’ works were previously published.

                4. The Court Should Refer the Matter to the Register of Copyrights and Dismiss
                   Plaintiffs’ Copyright Infringement Claims.

        Because Plaintiffs’ copyright registrations are invalid, they cannot sustain causes of action

 for copyright infringement and contributory copyright infringement as a matter of law. 17 U.S.C.

 § 411(a) (valid registration is a precondition for instituting a civil action for copyright

 infringement). The process of determining invalidation is governed by 17 U.S.C. § 411(b)(2) and

 37 C.F.R. § 205.14. Section 411(b)(2) requires that [i]n any case in which inaccurate information

 described under paragraph (1) is alleged, the court shall request the Register of Copyrights to

 advise the court whether the inaccurate information, if known, would have caused the Register of

 Copyrights to refuse registration.” 17 U.S.C. § 411(b)(2) (emphasis added); see also 37 C.F.R.

 § 205.14 (the request should be sent to the General Counsel of the Copyright Office via email to

 411filings@copyright.gov). Thus, the Court is required to request the Register to advise whether

 the inaccurate information contained in Plaintiffs’ registrations, if known, would have caused the

 Register to refuse registration.

        If the Register indicates that she would have refused registration, the Court must dismiss

 Plaintiffs’ copyright infringement and contributory copyright infringement claims. The Court may

 do so at this stage because all the facts necessary for such a dismissal are apparent on the face of

 the Complaint. See McLaren, 2010 WL 4615772, at *2-4 (dismissing the complaint with prejudice


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 because “[b]ased on the allegations of the complaint alone, it cannot be disputed that McLaren

 published some of the illustrations in the Collection”); Rawls v. Paradise Artists, Inc., 2020 WL

 1493610, *6-7 (M.D. Tenn. March 27, 2020 ) (dismissing claims and holding plaintiff could not

 cure its registration failure by amending its pending complaint); Xclusive-Lee, Inc. v. Hadid, 2019

 WL 3281013, at *4-5 (E.D.N.Y. July 18, 2019) (dismissing copyright infringement and

 contributory infringement claims for lack of valid registration).

            D. Plaintiffs’ Breach of Contract Claim Is Preempted by the Copyright Act.

        The Court should dismiss Plaintiffs’ claim for breach of contract against Brocade because

 it is preempted by the Copyright Act. See 17 U.S.C. § 301. In the Sixth Circuit, a “state

 common law or statutory claim is preempted [by the Copyright Act] if: (1) the work is within the

 scope of the ‘subject matter of copyright,’ as specified in 17 U.S.C. §§ 102, 103; and, (2) the

 rights granted under state law are equivalent to any exclusive rights within the scope of federal

 copyright as set out in 17 U.S.C. § 106.” Wrench LLC v. Taco Bell Corp., 256 F.3d 446, 453

 (6th Cir. 2001). As to the second prong, the Wrench court elaborated that “[e]quivalency exists

 if the right defined by state law may be abridged by an act which in and of itself would infringe

 one of the exclusive rights. Conversely, if an extra element is required instead of or in addition

 to the acts of reproduction, performance, distribution or display in order to constitute a state-

 created cause of action, there is no preemption, provided that the extra element changes the

 nature of the action so that it is qualitatively different from a copyright infringement claim.” Id.

 at 456 (internal citation omitted).

        Here, the subject of the contract—computer software—generally falls within the subject

 matter of the Copyright Act. Syntek Semiconductor Co. v. Microchip Tech. Inc., 307 F.3d 775,

 779 (9th Cir. 2002) (“Computer programs are works of authorship entitled to protection under



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 the Copyright Act.”). This is true even if it turns out that Plaintiffs’ specific software products

 are ultimately not protected by copyright. See ATC Distribution Grp., Inc. v. Whatever It Takes

 Transmissions & Parts, Inc., 402 F.3d 700, 713 (6th Cir. 2005).

        Regarding equivalency, the Sixth Circuit has expressly recognized that breach of contract

 claims are subject to preemption under certain circumstances. See Wrench LLC, 256 F.3d at 457

 (“[W]e do not embrace the proposition that all state law contract claims survive preemption

 simply because they involve the additional element of promise.”); see also Universal

 Instruments Corp. v. Micro Sys. Eng’g, Inc., 924 F.3d 32, 48-49 (2nd Cir. 2019) (“[P]reemption

 cannot be avoided simply by labeling a claim ‘breach of contract.’”) (citation omitted). For

 example, if the promise in the contract “amounts only to a promise to refrain from reproducing,

 performing, distributing or displaying the work, then the contract claim is preempted. The

 contrary result would clearly violate the rule that state law rights are preempted when they would

 be abridged by an act which in and of itself would infringe one of the exclusive rights of § 106.”

 Wrench LLC, 256 F.3d at 457-58.

        Here, the rights Plaintiffs seek to vindicate through their breach of contract claim are

 identical to those rights exclusively protected by the Copyright Act. Plaintiffs allege that

 “Brocade’s unauthorized disclosure of the source code, as well as Brocade’s continued use,

 reproduction, preparation of derivative works based upon, and public distribution of products

 containing Plaintiffs’ copyrighted software constitute a breach of the License Agreement.”

 Compl. ¶ 14. Plaintiffs expressly allege these exact same acts “constitute[] copyright

 infringement and material contribution to or inducement of infringement by Brocade's partners,

 resellers, and/or customers.” Id.; see also id. ¶ 71 (indicating conduct supporting breach of

 contract is described in Sections IV.B and C of the Complaint); id. ¶ 77 (indicating same



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 conduct constitutes copyright infringement: “As set forth in Sections IV.B and C above,

 Brocade, without authorization, copied, reproduced, prepared derivative works based upon, and

 publicly distributed Plaintiffs' copyrighted software.”); id. ¶¶ 43, 46 (under heading for breach

 of contract and copyright infringement, Plaintiffs allege that Brocade distributed source code and

 software to Extreme through transfer of ownership); id. ¶ 55 (“Plaintiffs repeatedly wrote to

 Brocade expressly stating that Brocade had breached the License Agreement by transferring

 and/or disclosing the software to Extreme without the right to do so.”) (emphasis added).

        These actions are undeniably exclusive rights expressly protected by the Copyright Act.

 See 17 U.S.C. § 106 (listing the exclusive rights as the right to (1) reproduce; (2) prepare

 derivative works; and (3) distribute copies by sale or transfer of ownership). Moreover, unlike in

 Wrench, Plaintiffs’ breach of contract claim is not based on a breach of Brocade’s “promise to

 pay.” In Wrench, the Sixth Circuit held that because the breach of contract claim was based on a

 breach of “an actual promise to pay” for the copyrighted work, the claim was not preempted.

 See Wrench LLC, 256 F.3d at 456. The court explained that the promise to pay was the “extra

 element” that changed “the nature of the action so that it is qualitatively different from a

 copyright infringement claim.” Id.

        Here, it is undisputed that Brocade fully paid for the license in 2015. See Compl. Ex. A,

 Amendment 5, ¶ 9. Thus, Plaintiffs’ breach of contract claim is based solely on a “promise to

 refrain from reproducing, performing, distributing or displaying” the allegedly copyrighted

 works, not a breach of a promise to pay. Wrench LLC, 256 F.3d at 457. Because the “extra

 element” of promise to pay is missing, Plaintiffs’ contract claim is preempted. Id. at 459.

        The Second Circuit addressed this very question in Universal Instruments Corp. v. Micro

 Systems Engineering, Inc., 924 F.3d 32 (2nd Cir. 2019). In Universal, like here, the plaintiff did



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 not allege that defendants violated the agreement by failing to pay for use of the intellectual

 property. Id. at 49. Rather, Universal’s contract claim was based on an allegation that

 defendants’ use of the source code exceeded the scope of the license contained in the agreement.

 Id. The Second Circuit concluded that the claim did not include an “extra element” that was

 different from Universal’s copyright infringement claim. Id. The same conclusion should apply

 here where Plaintiffs’ contract claim amounts to nothing more than allegations that Brocade’s

 use of Plaintiffs’ software and source code exceeded the scope of the license.

        Accordingly, the Court should dismiss Plaintiffs’ breach of contract claim in its entirety

 as preempted by the Copyright Act. Alternatively, if the Court concludes that there is an “extra”

 element to Plaintiffs’ contract claim that is not protected by the Copyright Act with respect to

 some but not all of Plaintiffs’ breach of contract allegations, the Court should still dismiss the

 claim to the extent it is preempted. See ATC Distribution Grp., Inc., 402 F.3d at 713-14 (finding

 that a state law claim for misappropriation was “partially preempted”).

        III.    CONCLUSION

        For the foregoing reasons, the Court should either dismiss the case for lack of jurisdiction

 and venue or, alternatively, transfer the case in its entirety to the Northern District of California.

 The Court should also dismiss Plaintiffs’ claims for copyright infringement and breach of contract.

 Dated: December 22, 2020                       HUESTON HENNIGAN LLP


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